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EXHIBIT I

ease 1:09-cv-00597-Li\/iB-TCB Documem 41-10 Filed 10/23/09 Page 2 of 4 Pagé’ii§$l 17%3

Roth, Melissa R.
From: isabel |V| Humphrey [isabel@hhylaw.com]

Sent: lV|onday, October 05, 2009 2145 PNl

To: Diokinsonl Nlichelle J.

Cc: Roth, Nielissa R.; Crarner, Vanessa

Subject: RE: Loomis laptops

So send someone upstairs. l will not move the laptop in my possession until they get herel l will let them pick it
up so l don't drop it, and l will keep it away from any large magnets l can't imagine what you think might happen
that would require the presence of a computer tech/consultant but if you really need onel there are probably a
couple of dozen available within a 5-rninute drive from this building who would be happy to charge you $‘lOD per
hour to drive over here and switch the laptops. No need for anyone to fly in from out of state

lfl do not have Joe's laptop by the end of the business clay tomorrow, we will move to add a conversion count to
the counterclaim and Joe will call the police. | am not conditioning the release of NEl‘s |aptop on the resolution of
any of our discovery issues, and there is no excuse for you conditioning the release of Joe's laptop on any of
those issues

Regarding the |aptop in NEl‘s possession, please confirm that when you say you will remove the "data" on that
laptop prior to the exchangel you are referring only to NEl data, and you will leave in place all installed software

isabel |'vi. Humphrey, Esq.

l-lUNTERl HUMPHREY & YA\/|TZ, PLC
2633 E indian School Rd, #440
Phoenix, Arizona 85016

Telephone: 602-275-7733 x103
Direct Fax: 480-452~1374
isabel@hhylaw.com
www.hhylaw.com

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intended recipient please contact the sender and delete and destroy all copies. Thank you.

----- Original Nlessage ~~--
From: "Dickinsonl lV|iche|le J."
To: "lsabe| lV| Humphrey"
Sent: 10/05)'2009 11:16Alvl
Subject: RE: Loomis laptops

Thanks for your email responsel |sabe|. ln light of the data destruction issues in this case, our client is taking
extra measures to ensure that the exchange of computers does not unnecessarily lead to a data destruction
problem

Nliche||e

From: Isabe| M i-lumphrey [mai|to:isabe|@hhylaw.com]
Sent: Monday, October 05, 2009 2:08 PM

To: Dickinson, Miche||e J.

Cc: Roth, Me|issa R.; Cramer, Vanessa

Subject: Re: Loomis laptops

Nliche|le, | can't understand why you need an out-of-state "consultant" to "taciiitate" the exchange of the
laptops. Can‘t you just send someone up from downstairs?? Or l can send someone downstairs Either

10/23/2009

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way. This should take 2 minutes

isabel iVi. Humphrey, Esq.

HUNTER, HU|ViPHREY & YAV|TZl PLC
2633 E indian Schoo| Rd, #440
Phoenix, Arizona 85016

Teiephone: 602-275-7733 x‘lO3
Direct Fax: 480~452-1374
isabei@hhyiaw.com
virw\.v.hhylaw.com

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---- Original i\/iessage --~
From: "Dickinson, Niichelie J."
To:

Sent: 10102/2009 5:47PM
Subject: Re: Loomis iaptops

isabel,

Thank you for your email. As explained in our letter, we will be paying a consultant to facilitate the exchange of the
laptop computers as a result of Joe's return of the wrong computer after his terminationl In order to avoid
unnecessary additional expenses, it makes sense to have the consultant make only one trip to Arizona and image the
tower and the other computers in .ioe's possession, custody or control during that visit. Piease confirm your
agreement with this arrangementl Thanks.

Micheiie

Miche|le J. Dickinson

DLA Pipcr LLP (US)

6225 Smith Avenue

Baltimore, Maryiand 2|209-3600
(410) 580~4137 Direct Phone
(410) 580-3137 Direct Fax
michelie.dickinson@dlapiper.com

ATTORNEY WORK PRODUCT

----- Original Message -----

From: lsabel M Humphrey <isabel@hhylaw.com>
TO.' Dickinson, Michel[e J.

Sent: Fri Oct 02 20:03:08 2009

Subject: RE: Loomis iaptops

Miciielle, i've reviewed your latest communication regarding the laptops. l'm glad we have finally resolved the
ownership issue Please have your computer tech call me to arrange a time to exchange the laptops. l will be in the
office most of the day Monday and Tuesday.

I will respond to the other issues raised in your letter1 but obviously NEl is required to return Joc's property
immediately and unconditionally

isabel M. Humphrey, Esq.

HUNTER, HUMPl-IREY & YAVITZ, Pl..C
2633 E indian Schooi Rd, #440

Phoenix, Arizona 85016

Telephone: 602~275-7733 x103
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10/23/2009

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isabel@hhyiaw.com
www.hhylaw.com

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